
PER CURIAM.
We reverse the denial of the defendant’s Motion for Enforcement of Final Judgment on Motion for Post-Conviction Relief. First, unlike the trial court, we do not view the defendant’s motion as a successive 3.850 motion. The defendant is merely seeking to enforce a prior trial court order which granted the defendant an evidentiary hearing on the issue of ineffective assistance of counsel. Second, we find that the doctrine of laches is not applicable in this situation. See Costello v. United States, 365 U.S. 265, 81 S.Ct. 534, 5 L.Ed.2d 551 (1961).
Accordingly, the order under review is reversed, and this matter is remanded for further proceedings.
